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                       IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF TEXAS, BEAUMONT DIVISION

    COALITION FOR WORKFORCE                         §
    INNOVATION, ASSOCIATED                          §
    BUILDERS AND CONTRACTORS OF                     §
    SOUTHEAST TEXAS; ASSOCIATED                     §
    BUILDERS AND CONTRACTORS,                       §
    INC., AND FINANCIAL SERVICES                    §
                                                                CASE NO. 21-CV- 00130
    INSTITUTE, INC.                                 §
                                                    §
           Plaintiffs                               §
                                                    §
           vs.                                      §
                                                    §
    MARTY WALSH, SECRETARY OF
                                                    §
    LABOR, UNITED STATES
                                                    §
    DEPARTMENT OF LABOR, in his
                                                    §
    official capacity, JESSICA LOOMAN,
                                                    §
    PRINCIPAL DEPUTY
                                                    §
    ADMINISTRATOR, DIVISION OF
                                                    §
    WAGE AND HOUR, U.S.
                                                    §
    DEPARTMENT OF LABOR, in her
                                                    §
    official capacity, and UNITED STATES
                                                    §
    DEPARTMENT OF LABOR,

           Defendants.


         PLAINTIFFS’ AMENDED COMPLAINT FOR DECLARATORY RELIEF

         1.      Plaintiffs   COALITION        FOR      WORKFORCE           INNOVATION          (“CWI”)

ASSOCIATED BUILDERS AND CONTRACTORS OF SOUTHEAST TEXAS (“ABCSETX”),

ASSOCIATED BUILDERS AND CONTRACTORS, INC. (“ABC”), and FINANCIAL

SERVICES INSTITUTE, INC. (“FSI”) (collectively “Plaintiffs”), by and through their

undersigned counsel, for their Amended Complaint against the Defendants,1 herein state as

follows:


1
 This Amended Complaint is filed pursuant to F.R.Civ.P. 15(a), allowing a party to “amend its pleading
once as a matter of course” prior to service of a responsive pleading. See also Bibbs v. Early, 541 F.3d
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                                   NATURE OF THE ACTION

        2.      Plaintiffs bring this action under the Administrative Procedure Act (“APA”), 5

U.S.C. § 500 et seq., the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq., and the

Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202. Plaintiffs are challenging a final rule

promulgated by the United States Department of Labor (“Department”) on March 4, 2021 entitled,

“Independent Contractor Status Under the Fair Labor Standards Act (FLSA): Delay of Effective

Date,” (hereafter the “Delay Rule”), 86 Fed. Reg. 12,535 (Mar. 4, 2021), which purported to

postpone the effective date of a final rule titled “Independent Contractor Status Under the Fair

Labor Standards Act” (“Independent Contractor Rule”), 86 Fed. Reg. 1,168 (Jan. 7, 2021). In

addition, this amended complaint challenges a newly issued Final Rule purporting to withdraw the

(improperly) delayed Independent Contractor Rule in its entirety prior to its new effective date, 86

Fed. Reg. 24,303 (May 6, 2021) (the “Withdrawal Rule”).

        3.      As further explained below, the Delay Rule was issued arbitrarily, capriciously, and

contrary to procedures required by law, because the Department failed to (1) provide a meaningful

comment period before enacting the Delay Rule; or (2) offer substantive justification for enacting

the Delay Rule. The Department enacted the Delay Rule following a comment period of only

nineteen days, during which the Department considered only comments discussing postponing the

Independent Contractor Rule’s effective date. See 86 Fed. Reg. 12,535. The minimal justification

that the Department provided for enacting the Delay Rule mischaracterized the Independent

Contractor Rule as adopting a “new legal standard” (see 86 Fed. Reg. 12,535), when in reality,

the Independent Contractor Rule only sought to provide clearer guidance to the regulated

community as to the relative importance of the various factors comprising the long-standing


267, 275, n.39 (5th Cir. 2008) (allowing parties to be added by amendment pursuant to Rule 15 before a
responsive pleading is served).


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“economic reality” test for determining employee or contractor status. 86 Fed. Reg. 1,168. The

Delay Rule, moreover, ignored completely the reality of the continuing costs of litigation and lack

of adequate guidance for businesses attempting to classify workers properly, which the

Independent Contractor Rule properly sought to mitigate; and further ignored the compliance

preparation many businesses have already undertaken in anticipation of the rule becoming

effective as scheduled, when claiming that the Delay Rule “would not be disruptive.” 86 Fed. Reg.

12,536.

       4.      Within eight days after publication of the Delay Rule purporting to extend the

effective date of the Independent Contractor Rule, on March 12, 2021, the Department published

its NPRM proposing to “withdraw” the Independent Contractor Rule. 86 Fed. Reg. 14,027.

Following another truncated comment period, on May 6, 2021, the Department issued the

Withdrawal Rule, improperly claiming authority to withdraw the Independent Contractor Rule

because it had not yet gone into effect, with the withdrawal being declared “effective immediately”

(“Withdrawal Rule”). 86 Fed. Reg. 24,303, 24,320.

       5.      As a combined result of the Delay Rule and the Withdrawal Rule, the Department

has arbitrarily and capriciously purported to overturn its previously published Independent

Contractor Rule, which had provided much needed guidance and clarification of an issue that the

Department itself acknowledged to have become fraught with litigation and inconsistent

application of classification standards under the FLSA. In hastily reversing course in such an ill-

conceived manner, further described below, the Department has failed to address the severe

problems identified in and addressed by the Independent Contractor Rule, as evidenced by the

Administrative Record of both rulemaking proceedings. The Delay and Withdrawal Rules have




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failed to consider important aspects of the problems which the Independent Contractor Rule

properly addressed, and made unexplained findings inconsistent with the Administrative Record.

           6.   The Delay Rule and the Withdrawal Rule are both procedurally and substantively

flawed. They are based on the improper exercise of political power by the Department in violation

of the requirements of the APA, first by unlawfully purporting to “freeze” a final rule enacted

through public notice and comment procedures, and then by purporting to withdraw the

Independent Contractor Rule altogether, compounding the violations of the APA. The Department

first arbitrarily delayed the effective date of the Independent Contractor Rule without adequate

notice and comment, and then arbitrarily claimed that the unlawfully postponed effective date

permitted the Rule to be withdrawn in a similarly pre-ordained fashion.

           7.   In addition to the numerous procedural flaws in the challenged actions of the

Department, both the Delay and Withdrawal Rules suffer from fatal substantive defects under the

APA standards. Specifically, the Department failed to give substantive consideration to the

important interests of the regulated community in obtaining clear and long overdue guidance for

industries and independent jobs that in many instances did not even exist when the Department’s

standards were last updated. The new Rules also fail to meaningfully address the chaotic litigation

environment which the Independent Contractor Rule analyzed in exhaustive detail and sought to

clarify.

           8.   The new Rules further mischaracterize the Independent Contractor Rule’s content

and purpose in identifying the core factors at the heart of the economic realities test described by

the Supreme Court and many court decisions. Contrary to the Delay and Withdrawal Rules, the

Independent Contractors Rule did not create a “new” standard, but rather provided clear and




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uniform guidance to businesses and independent workers that will better enable them to avoid

misclassifications while providing entrepreneurial opportunities for millions of workers.

       9.      The Delay and Withdrawal Rules also ignored or mischaracterized the substantial

data supporting the Independent Contractor Rule contained in the Administrative Record,

including but not limited to comments and studies submitted for the Record by the Plaintiffs and

other business and public policy organizations. Contrary to the Withdrawal Rule, the data set forth

in these comments strongly supports the Department’s previous recognition of the important

economic benefits of independent contracting. In arbitrarily dismissing its own previous findings

in that regard, the Department’s Withdrawal Rule improperly treats independent contractor status

as harmful to workers, notwithstanding the Supreme Court’s longstanding recognition that the

FLSA was not intended to eliminate independent contractor classifications. Walling v. Portland

Terminal Co., 330 U.S. 148, 152 (1947). In addition, the Withdrawal Rule contradicts numerous

studies showing that independent workers overwhelmingly prefer remaining independent and do

not want to be treated as “employees” where the law does not require such treatment. At the same

time, the Withdrawal Rule improperly credits and relies on studies previously found by the

Department to be inadequate to justify withdrawing the Independent Contractor Rule.

       10.     The Department has thus reversed course without any adequate explanation or

identification of new factors which the Department previously failed to consider. Certainly, the

Department has identified no factual or legal errors in the Department’s thorough discussion of

case law identifying the “core factors” applied by many courts within the rubric of the overall

“economic realities” test. Instead, the Department now contends without support that its own

previous analysis was an “oversimplifi[cation],” and “incomplete.” 86 Fed. Reg. 24,309. The

Withdrawal Rule fails to cite any authority refuting the Independent Contractor Rule’s approach




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recognizing the importance of the control and opportunity factors, within the scope of the extant

case law applying a “multifactor, holistic analysis.” See, e.g., 86 Fed. Reg. 24,310.

       11.     The Department’s Withdrawal Rule also relies on an erroneous legal standard for

interpreting the FLSA, seeking to achieve the broadest remedial purpose regardless of cost. 86

Fed. Reg. 24,309. To the contrary, the Supreme Court requires the FLSA to be interpreted “fairly,”

not to achieve the broadest remedial purpose, as the Department previously discussed in the

Independent Contractor Rule. Citing Encino Motor Cars v. Navarro, 138 S. Ct. 1134, 1142 (2018);

see also Catskill Mts. Chptr. of Trout Unlimited, Inc., 846 F.3d 492 at 514 (observing that “the

Supreme Court has noted, however, ‘no law pursues its purpose at all costs’”); U.S. Dep’t of Labor

v. Bristol Excavating, Inc., 935 F.3d 122, 135 (3d Cir. 2019) (“[A] fair reading of the FLSA, neither

narrow nor broad, is what is called for.”). See Independent Contractor Rule, 86 Fed. Reg. 1,200,

1,207-08.

       12.     In the Withdrawal Rule, the Department also arbitrarily concluded without

adequate explanation that it was “inappropriate to conclude independent contractors generally earn

a higher hourly wage than employees do,” even though the Department continues to state in the

Withdrawal Rule that “[a] simple comparison of mean hourly wages showed that independent

contractors tend to earn more per hour than employees do.” 86 Fed. Reg. 24,325. Regardless of

that finding, the Department’s subsequent conclusion that “no statistically significant difference”

existed between the pay of independent contractors and employees after “controlling for

observable differences” actually supports – and certainly does not refute – the Independent

Contractor Rule. 86 Fed. Reg. 24,325.

       13.     Equally arbitrary is the Department’s conclusion that “[t]he Rule’s withdrawal does

not impose new compliance costs on the regulated community, because it imposes no new




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requirements.” This statement ignores the Independent Contractor Rule’s intention to reduce the

costs of compliance under the FLSA, which the Department continues to agree “may be higher

under the current interpretation of the FLSA than under the interpretation contained in the

Independent Contractor Rule.” 86 Fed. Reg. 24,319. But the Department proceeded with the

Withdrawal Rule without addressing this critically important factor motivating the Department’s

adoption of the Independent Contractor Rule in the first place.

       14.     The Department further concluded that withdrawing the Independent Contractor

Rule would not be disruptive, and that it would expect any costs that regulated parties incurred in

preparing for the Independent Contractor Rule to be “minimal,” noting that it “put[] businesses on

notice” through the (unlawful) Delay Rule “that it was far from certain when the Rule would go

into effect, or in what form.” 86 Fed. Reg. 24,319. This finding ignores the illegality of the Delay

Rule itself, which businesses were entitled to believe would be vacated in court due to its multiple

violations of the APA.

       15.     By these and other fatal defects, the Delay and Withdrawal Rules violate the APA’s

well settled requirement that an agency “must...provide good reasons” for changing policy

positions, prior to delaying or rescinding lawfully promulgated rules. Motor Vehicle Mfrs. Ass’n,

463 U.S. at 44; California v. BLM, 286 F. Supp. at 1064-65. Indeed, the agency “must provide …

a ‘detailed justification’ to explain why it is changing course” and an agency may not “casually

ignor[e]” its previous findings and “arbitrarily chang[e] course.” California v. BLM, 286 F. Supp.

at 1064, 1068; see also Connecticut Light & Power Co. v. Nuclear Regulatory Comm., 673 F.2d

525, 528 (D.C. Cir. 1982).

       16.     An agency’s action is arbitrary and capricious where it fails to consider important

aspects of the problem and offers explanations for its new rule that run counter to the evidence and




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where it relies on factors that it should not have considered. See Motor Vehicle Mfrs. Ass’n of the

U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 41-43 (1983). A change in presidential

administration does not license an agency to ignore the requirements of the APA. See, e.g., Pineros

Y Campesinos Unidos, 293 F. Supp. 3d at 1067; Nat’l Resources Def. Council, 894 F.3d at 114.

       17.     Because the Delay Rule was arbitrary, capricious, and invalid, this Court should

hold that the Independent Contractor Rule went into effect on March 8, 2021. 86 Fed. Reg. 1,168.

As a result, the Department’s subsequent proposal to withdraw the Independent Contractor Rule

before its effective date was also arbitrary and capricious and therefore invalid. See 86 Fed. Reg.

14,027. Moreover, in delaying the effective date and then withdrawing the Independent Contractor

Rule, the Department has “casually ignor[ed]” its previous findings in the Independent Contractor

Rule, failed to address significant aspects of the problems which that Rule sought to remedy,

offered explanations for its actions that run counter to the evidence, and otherwise “arbitrarily

chang[ed] course.” California v. BLM, 286 F. Supp. at 1064. For all of these substantive reasons,

combined with the procedural defects in the Delay and Withdrawal Rules, the Department’s action

purporting to delay the Independent Contractor Rule, and then purporting to withdraw it prior to

its effective date, must be vacated and enjoined.

                                                PARTIES

       18.     Plaintiff CWI is a coalition that supports choice, flexibility, and opportunity in the

modern workforce. CWI represents a diverse array of stakeholders, including those who represent

and advocate on behalf of workers, small businesses, start-ups, entrepreneurs, and technology

companies. CWI also represents and advocates on behalf of traditional businesses and associations

in industries such as media, transportation, distribution, retail, and service. CWI supports

modernized guidance on how to define the scope of the independent contractor relationship.




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Indeed, CWI supports such guidance as CWI advocates on behalf of students, parents,

entrepreneurs, retirees, and other independent workers who prioritize the flexibility and freedom

of non-traditional work arrangements. CWI also supports work opportunities for groups such as

immigrants, caregivers, veterans, first time small business owners and entrepreneurs, and

individuals with criminal backgrounds, who may struggle to find employment in the traditional

job market. CWI supports the Independent Contractor Rule because the Independent Contractor

Rule provides clarity for both workers and businesses. The delay and withdrawal of the Rule

threatens CWI members and their constituents with irreparable harm. Accordingly, CWI has a

substantial interest in the Independent Contractor Rule going into effect without delay.

       19.      Plaintiff ABCSETX is a non-profit trade association of two hundred construction

industry contractors and related firms operating in Southeast Texas and around the country.

Headquartered     in   this   judicial   district      at   2700   N.   Twin   City   Highway   in

Nederland, Texas, ABCSETX is a separately incorporated affiliate of the national construction

industry trade association Plaintiff ABC. Plaintiff ABC represents more than 21,000 member

contractors and related firms both in Texas and throughout the country, who share the philosophy

that work in their industry should be awarded and performed based on merit, without regard to

labor affiliation. ABC and its sixty-nine chapters help members develop people, win work and

deliver that work safely, ethically and profitably for the betterment of the communities in which

they work. ABC's membership represents all specialties within the U.S. construction industry and

is comprised primarily of firms that perform work in the industrial and commercial sectors.

       20.      Independent contractors are essential to many of the businesses who ABCSETX

and ABC represent, providing specialized skills to many such businesses. Moreover, by utilizing

independent contractors, the businesses ABCSETX and ABC represent can allow for




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entrepreneurial opportunities and maintain stability during fluctuations of work common to

construction. Conflicting court rulings have confused and frustrated efforts of the businesses who

ABCSETX and ABC represent to perform services on a cost-efficient basis. These member

businesses will be significantly and in some instances irreparably harmed if the Rule is arbitrarily

delayed or withdrawn. ABCSETX and ABC supported the Independent Contractor Rule’s effort

to clarify the independent contractor standard and facilitate a consistent application among courts.

       21.        Plaintiff Financial Services Institute, Inc. (“FSI”) is a trade association advocating

on behalf of the independent financial services industry. More than 80 independent financial

services firms and almost 30,000 independent financial advisors are members of FSI. Since 2004,

through advocacy, education, and public awareness, FSI has been working to create a healthier

regulatory environment for these members so they can provide affordable, objective financial

advice to hard-working Americans. FSI’s mission is to ensure that all Americans have access to

competent and affordable financial advice, products, and services, delivered by a growing network

of independent financial advisors, who serve as independent contractors to independent financial

services firms.

       22.        FSI members, both independent financial advisors and independent financial

services firms, base their business model on independent financial advisors operating their own

businesses, including obtaining and serving their own clients, developing their own reputations,

and establishing their own goodwill. Independent financial advisors are licensed professionals,

who are able to tailor their professional services and advice to the needs of their clients. These

member businesses are significantly harmed by the arbitrary withdrawal of this Rule. The

uncertainty caused by the Rule’s withdrawal will damage FSI members’ businesses, decreasing

their value and causing irreparable harm. The uncertainty caused from the Rule's withdrawal will




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also cause resources to be diverted from the core business competency of helping clients with

financial planning and investing to defending against inaccurate claims from government agencies

that independent financial advisors are misclassified. For these reasons, FSI supported the

Independent Contractor Rule’s effort to clarify the independent contractor standard and facilitate

a consistent application among courts.

       23.     As trade associations and organizations representing businesses in Texas and

around the country who utilize the skills of independent contractors, and many independent

contractors themselves, Plaintiffs each have standing to bring this action on behalf of their

members under the three-part test of Hunt v. Washington State Apple Advertising Commission,

432 U.S. 333, 343 (1977), because (1) Plaintiffs’ members are injured by the Delay and

Withdrawal Rules and so would otherwise have standing to sue in their own right; (2) the interests

at stake in this case are germane to Plaintiffs’ organizational purposes; and (3) neither the claims

asserted nor the relief requested requires the participation of Plaintiffs’ individual members.

       24.     Defendant Marty Walsh is the Secretary of the Department (the “Secretary”).

Defendant Jessica Looman is the Principal Deputy Administrator (the “Principal Deputy

Administrator”) of the Division of Wage and Hour. The Department, and the Wage and Hour

Division specifically, published the Independent Contractor Final Rule in the Federal Register,

and subsequently published the Delay Rule and the proposal to rescind the Independent Contractor

Rule in the Federal Register. Secretary Walsh and Principal Deputy Administrator Looman are

sued in their official capacities and the relief sought extends to all of their successors, employees,

officers, and agents.




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                                 JURISDICTION AND VENUE

        25.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1331 (federal question) because the Plaintiffs’ causes of action arise under and allege violations of

federal law, including the APA, 5 U.S.C. §§ 701-706 (APA jurisdiction to review agency actions),

the FLSA, 29 U.S.C. § 201, et seq., and the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202

(declaratory relief).

        26.     This Court has authority to grant declaratory relief pursuant to 28 U.S.C. §§ 2201-

02 and the provisions of the APA, 5 U.S.C. §§ 701-06.

        27.     Venue is properly vested in this Court pursuant to 28 U.S.C. § 1391(e) because one

or more of the Plaintiffs are based within the judicial district of this Court.



                                   FACTUAL BACKGROUND

        A.      The Independent Contractor Rule Under the Fair Labor Standards Act

        28.     On September 25, 2020, the Department published a Notice of Proposed

Rulemaking (“NPRM”) through which it proposed to amend title 29 of the Code of Federal

Regulations by adding a new part 795 setting forth and clarifying the standards by which the

Department will deem workers to be statutory “employees” or independent contractors under the

FLSA. See generally 85 Fed. Reg. 60,600. During the 30-day comment period on the NPRM, the

Department received more than 1,800 comments from interested stakeholders. 86 Fed. Reg. 1,171.

        29.     On January 7, 2021, the Department issued the final Independent Contractor Rule.

The Rule included an extensive review of the comments received during the rulemaking process

and offered the Department’s reasoned opinion for adopting some changes suggested by

commenters, while declining to adopt others. The Administrative Record included many

comments from employers and independent contractors, including comments from the Plaintiffs


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and many of their member companies, describing great uncertainty as to how to classify

individuals under the existing morass of federal and state court decisions and conflicting standards.

Plaintiffs and other businesses reported significant increases in litigation costs and the adverse

impact of the status quo on business growth, business valuation, and innovation, as well as the

adverse impact on freelance contractor business opportunities. Many comments applauded the

Rule as “balanced and reasonable,” and promoting certainty and predictability for both workers

and businesses, thus promoting work choice and innovation in the economy.

       30.     The Independent Contractor Rule thoroughly analyzed the chaotic state of the

FLSA’s application to independent contractor classifications, focusing on the longstanding

economic reality test under the Act, while sharpening the factors used to update and apply that test

to the modern business environment. The Department properly found that “control” over work

performance and the opportunity for profit or loss are the most probative of whether workers are

economically dependent on another business or are in business for themselves, exhaustively citing

cases to this effect. 86 Fed. Reg. 1,168.

       31.     The Independent Contractor Rule also included a robust economic analysis of the

costs and benefits of the Independent Contractor Rule’s standard. See generally 86 Fed. Reg.

1,168. As previously proposed, the final Rule amended the Code of Federal Regulations by adding

a new part 795, with the expressed intent that regulated parties could rely on this new part “in

accordance to section 10 of the Portal-to-Portal Act, 29 U.S.C. 251-262.” Section 10 allows parties

to establish a good faith defense in FLSA litigation. See 86 Fed. Reg. 1,246. The Rule directly

impacted Plaintiffs’ member companies (and many others) by thus creating a “safe harbor” from

some aspects of the confused and conflicting litigation arising under the FLSA in recent years. Id.




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       32.     The Independent Contractor Rule reflects consideration of relevant facts and

statutory and other legal considerations as well as the Department’s reasoned judgment regarding

applicable policy considerations. The Rule also reflects consideration of contrary facts and

arguments and includes an exhaustive description and citations to the hundreds of authorities, facts,

data and other analyses on which the Department relied. The Department cited numerous

commentators with whom it agreed and those with whom it disagreed, and the Department

explained its reasoning throughout the Final Rule. See 86 Fed. Reg. at 1168-1175, 1178-1196,

1209-1234.

       B.      The Delay Rule

       33.     On January 20, 2021, the Assistant to the President and Chief of Staff, on behalf of

President Biden, published a “Memorandum for the Heads of Executive Departments and

Agencies” titled “Regulatory Freeze Pending Review” (“Regulatory Freeze Memorandum”). 86

Fed. Reg. 7,424.

       34.     The Regulatory Freeze Memorandum directed heads of executive departments and

agencies to “consider postponing the rules’ effective dates for 60 days from the date of this

memorandum...for the purpose of reviewing any questions of fact, law, and policy the rules may

raise.” 86 Fed. Reg. 7,424. The Memorandum cited no statutory authority for such a directive, and

there is none. See, e.g., Natural Resources Defense Council v. Abraham, 355 F.3d 179, 189 (2d

Cir. 2004) (holding that “a new administration’s simple desire to have time to review, and possibly

revise or repeal, its predecessor’s regulations falls short” of the APA’s requirements.).

Nevertheless, the Regulatory Freeze Memorandum further directed heads of executive

departments and agencies to “consider opening a 30-day comment period to allow interested

parties to provide comments about issues of fact, law, and policy raised by those rules, and consider

pending petitions for reconsideration involving such rules.” 86 Fed. Reg. 7,424.


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        35.     Also, on January 20, 2021, the Office of Management and Budget (“OMB”)

published OMB Memorandum M-21-14, Implementation of Memorandum Concerning

Regulatory Freeze Pending Review (“OMB Memorandum”).2 The OMB Memorandum provided

guidance to heads of executive departments and agencies, explaining that the decision of whether

to postpone the effective date of published rules not yet in effect “should include consideration”

of eight specific factors:

        (1) the rulemaking process was procedurally adequate; (2) the rule reflected proper
        consideration of all relevant facts; (3) the rule reflected due consideration of the
        agency’s statutory or other legal obligations; (4) the rule is based on a reasonable
        judgment about the legally relevant policy considerations; (5) the rulemaking
        process was open and transparent; (6) objections to the rule were adequately
        considered, including whether interested parties had fair opportunities to present
        contrary facts and arguments; (7) interested parties had the benefit of access to the
        facts, data, or other analyses on which the agency relied; and (8) the final rule found
        adequate support in the rulemaking record.

See id. Neither the Executive Order nor the OMB Memorandum authorized a delay in a

final rule’s effective date beyond 60 days after Inauguration Day. Id.

        36.     On February 5, 2021, the Department proposed to delay the effective date of the

Independent Contractor Rule until May 7, 2021, well beyond the 60-day delay authorized by the

White House. 86 Fed. Reg. 8,326. The proposal indicated that the sole purpose of the delay was

for the Department to “review and consider the rule as the Regulatory Freeze Memorandum and

Office of Management and Budget Memorandum M-21-14 contemplate,” specifically the “legal,

policy, and/or enforcement implications of adopting that standard.” 86 Fed. Reg. 8,327.

        37.     According to the Department, the Independent Contractor Rule “would adopt a new

legal standard for determining employee and independent contractor status under the FLSA.” 86



2
  See OMB Memorandum M-21-14, Implementation of Memorandum Concerning Regulatory
Freeze Pending Review, https://www.whitehouse.gov/wp-content/uploads/2021/01/M-21-14-
Regulatory-Review.pdf (last visited Mar. 16, 2021).

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Fed. Reg. 8,327. The Department further asserted that the proposed delay was reasonable and

would not be disruptive since the “independent contractor final rule is not yet effective, and [the

Department] has not implemented the rule.” 86 Fed. Reg. 8,327.

       38.     The NPRM required comments to be submitted by February 24, 2021, i.e., only 19

days from the date of the notice, and stated that the Department “[would] consider only comments

about its proposal to delay the rule’s effective date.” 86 Fed. Reg. 8,327.

       39.     On February 22, 2021, Plaintiff ABC filed a request for extension of time to file

comments and further protested the Department’s restriction on the nature of comments which

could be filed. The Department denied the extension request on February 24, 2021. CWI and FSI

also filed comments criticizing the Department’s truncated comment period and the unauthorized

delay of the March effective date.

       40.     On March 4, 2021, the Department published the final Delay Rule that Plaintiffs

challenge in this Complaint; the Delay Rule stated that “[a]s of March 4, 2021, the effective date

of the Independent Contractor Rule...is delayed until May 7, 2021.” 86 Fed. Reg. 12,535.

       41.     As justification for the Delay Rule, the Department stated that “allowing more time

for consideration of the January 2021 [Independent Contractor] Rule is reasonable given the

significant and complex issues the Rule raises, including whether the Rule is consistent with the

statutory intent to broadly cover workers as employees as well as the costs and benefits of the rule,

including its effect on workers.” Id. The Department did not address the fact that each of the

aforementioned issues had already been considered by the Department prior to adoption of the

Independent Contractor Rule. Nor did the Department base its reasons for delaying the effective

date of the Rule on the reasons enumerated in OMB Memorandum M-21-14, as set forth above.




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       42.     As further justification for the Delay Rule, the Department tautologically asserted

that “allowing the Independent Contractor Rule to go into effect while the Department undertakes

a further review of the Independent Contractor Rule could lead to confusion and uncertainty among

workers and businesses in the event that the Department proposes changes to the Independent

Contractor Rule following its review.” Id. As further explained below, this is not a permissible

justification for delaying the effective date of a final Rule under the APA.

       C.      The Withdrawal Rule

       43.     On March 12, 2021, within eight days after publication of the Delay Rule

purporting to extend the effective date of the Independent Contractor Rule, the Department

published a NPRM proposing to “withdraw” the Independent Contractor Rule. 86 Fed. Reg.

14,027. In explaining its decision to withdraw the Independent Contractor Rule, the Department

highlighted that the Independent Contractor Rule “ha[d] not yet taken effect” (86 Fed. Reg.

14,031), and that accordingly, the Department “[did] not believe that withdrawing it would be

disruptive” (86 Fed. Reg. 14,035).

       44.     Though numerous parties asked for extensions of time to file comments, the

Department again denied all such requests. As a result the comments received were less substantive

than those preceding the Independent Contractor Rule itself and provided no adequate justification

for withdrawing the Rule. Nevertheless, on May 6, 2021, the Department issued a final rule

withdrawing the Independent Contractor Rule (“Withdrawal Rule”) and concluded that it had

“good cause to make this rule effectively immediately upon publication.” 86 Fed. Reg. 24,303,

24,320.

       45.     In the Withdrawal Rule, the Department contended that the Independent Contractor

Rule “would have set forth a new articulation of the economic realities test, elevating two

factors...as ‘core’ factors above other factors, and designating them as having greater probative


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value.” 86 Fed. Reg. 24,308. The Department concluded that “elevating two factors” would

conflict with the FLSA, congressional intent, and precedent interpreting the FLSA, because of the

FLSA’s “breadth in defining the employment relationship.” 86 Fed. Reg. 24,309.

       46.     The Withdrawal Rule acknowledged comments supporting the Independent

Contractor Rule’s application of the economic realities test because the Independent Contractor

Rule’s “weighting of factors would be consistent with the outcomes of prior court decisions

applying an economic realities analysis” and “was not intended to alter the economic realities

analysis but rather reflected the Department’s review of prior court decisions applying the test.”

86 Fed. Reg. 24,308.

       47.     Nevertheless, the Department rejected the Independent Contractor Rule’s

exhaustive discussion of case law supporting its analysis as an “oversimplifi[cation]” and as

“incomplete” because it “did not provide full documentation or citations for its case law review.”

86 Fed. Reg. 24,309. The Withdrawal Rule, however, failed to cite authority contrary to the

Independent Contractor Rule’s (correct) assessment of the importance of the control and

opportunity factors, other than to repeat generalized statements from case law indicating that

courts apply a “multifactor, holistic analysis” and to allege that that the Independent Contractor

Rule “replaced the courts’ analyses based on the theory that they were actually setting forth an

unstated, different analysis.” See, e.g., 86 Fed. Reg. 24,310.

       48.     The Department’s contention that “the Rule did not identify any court opinion that

states that control and opportunity for profit or loss should be invariably prioritized over other

factors,” ignores the Independent Contractor Rule’s explanation that “[f]ocusing on control and

opportunity for profit or loss is further supported by the results of federal courts of appeals cases




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weighing the economic reality factors since 1975.” Compare 86 Fed. Reg. 24,310 (emphasis

added), with 85 Fed. Reg. 60.619 (emphasis added).

       49.     In the Withdrawal Rule, the Department also concluded that it was “inappropriate

to conclude independent contractors generally earn a higher hourly wage than employees do,” even

though the Department acknowledged that “[a] simple comparison of mean hourly wages showed

that independent contractors tend to earn more per hour than employees do.” 86 Fed. Reg. 24,325

(noting that 2017 data shows that independent contractors earn approximately $3 more per hour

than employees).

       50.     The Department concluded that “no statistically significant difference” existed

between the pay of independent contractors and employees after “controlling for observable

differences.” 86 Fed. Reg. 24,325. The Department, however, did not explain its process for

controlling for “observable differences” and did not explain what the average pay rates of

independent contractors and employees were for different groups after it controlled for “observable

differences.” See id.

       51.     In discussing the costs associated the Withdrawal Rule, the Department concluded

that “[t]he Rule’s withdrawal does not impose new compliance costs on the regulated community,

because it imposes no new requirements,” and further concluded that“[s]ome commenters

confused the one-time costs of coming into compliance with the withdrawal of the Rule with the

ongoing costs of complying with the FLSA” which the Department agrees “may be higher under

the current interpretation of the FLSA than under the interpretation contained in the Independent

Contractor Rule.” 86 Fed. Reg. 24,319. The Withdrawal Rule entirely failed to address the main

problem that the Independent Contractor Rule was enacted to resolve, i.e., the costly, conflicting




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and confusing state of litigation over this issue under the morass of standards embraced by different

courts.

          52.      The Department further concluded that withdrawing the Independent Contractor

Rule would not be disruptive, and that it would expect any costs that regulated parties incurred in

preparing for the Independent Contractor Rule to be “minimal,” noting that it “put[] businesses on

notice” through the (unlawful) Delay Rule “that it was far from certain when the Rule would go

into effect, or in what form.” 86 Fed. Reg. 24,319.

          53.      Despite comments raising concerns to the contrary, the Department also concluded

that the “Independent Contractor Rule is not currently in effect” and explained that the Department

“declines to comment on the ongoing litigation” challenging the Delay Rule. 86 Fed. Reg. 24,319.

In response to comments arguing that the Department should await the outcome of this lawsuit

challenging the Delay Rule, on which the Withdrawal Rule as proposed was premised, the

Department for the first time asserted in contradiction to its own proposed rule that “the

Department would withdraw the Independent Contractor Rule even if it were currently in effect.”

Id. at 24,320.

                                             COUNT ONE

                (The Delay Rule’s Violation of the APA’s Notice and Comment Requirements)

          54.      Paragraphs 1 through 53 are incorporated by reference as if set forth fully herein.

          55.      The Administrative Procedure Act, 5 U.S.C. § 706(2)(A), directs reviewing courts

to “hold unlawful and set aside agency action, findings, and conclusions found to be . . . arbitrary

and capricious, an abuse of discretion, or otherwise not in accordance with law.” The APA

generally requires agencies to provide adequate notice, time, and opportunity to interested parties

for comment when engaging in rulemaking. 5 U.S.C. § 553. The Department arbitrarily failed to

comply with the APA’s notice and comment requirements prior to issuing the Delay Rule.


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       56.     Where an agency enacts a regulation without first complying with the APA’s

procedural requirements, vacatur is appropriate. Such vacatur applies equally to final agency

action unlawfully purporting to pause, delay or rescind a final rule, as has occurred in the present

case. Texas v. United States, 2021 U.S. Dist. LEXIS 33890, **107-117 (S.D. Tex. Feb. 23, 2021);

see also N.C. Growers’ Ass’n, 702 F.3d at 765 (4th Cir. 2012); Puget Soundkeeper All. v. Wheeler,

2018 U.S. Dist. LEXIS 199358, at *19-20 (W.D. Wash. 2018). Here, the Department failed to

provide a meaningful opportunity for comment by unreasonably shortening the time for comments

and by restricting the substance of the comments to be submitted.

       57.     Specifically, when an agency issues a final rule after engaging in notice and

comment procedures, it must “use...the same procedures when [it] amend[s] or repeal[s] a rule.”

United States v. Colliot, 2018 U.S. Dist. LEXIS 83159, at *6-7 (W.D. Tex. May 15, 2018) (quoting

Perez v. Mortgage Bankers Ass’n, 575 U.S. 92, 101 (2015)). Indeed, an agency’s efforts to comply

with the APA’s notice and comment requirements “suggest that the agency believed [those notice

and comment procedures] to be applicable” and “support[s] the conclusion that ‘those procedures

[are] applicable.” N.C. Growers’ Ass’n v. UFW, 702 F.3d 755, 765 (4th Cir. 2012) (quoting

Manufactured Housing Inst. v. EPA, 467 F.3d 391, 399 (4th Cir. 2006)).

       58.     The Independent Contractor Rule was issued after extensive notice and comment

proceedings. Though the rule contains references to the Department’s “interpretation” of the

FLSA, the Rule contains numerous hallmarks of “legislative” and “substantive” rulemaking,

starting with the use of notice and comment rulemaking itself. Perez, 575 U.S. at 96 (“Rules issued

through the notice-and-comment process are often referred to as ‘legislative rules’….”). The

Rule’s stated purpose was to add a new part to the Code of Federal Regulations, with the expressed

intent that regulated parties could rely on this new part “in accordance to section 10 of the Portal-




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to-Portal Act, 29 U.S.C. 251-262,” which allows parties to establish a good faith defense in FLSA

litigation. See 86 Fed. Reg. 1,246. The Rule directly impacted Plaintiffs’ member companies (and

many others) by thus creating a “safe harbor” from some aspects of the confused and conflicting

litigation arising under the FLSA in recent years. Id.

       59.     Where notice and comment procedures are otherwise required, an agency does not

have inherent authority to stay a rule as it reconsiders it. Clean Air Council v. Pruitt, 862 F.3d 1,

9 (D.C. Cir. 2017). Rather, an agency’s action in delaying a rule's effective date is "tantamount to

amending or revoking a rule," and accordingly, is not “merely an interim procedural step.” Nat’l

Res. Def. Council v. Nat’l Highway Traffic Safety Admin., 894 F.3d 95 (2d Cir. 2018); Clean Air

Council, 862 F.3d at 9.

       60.     A delay of a legislative rule’s effective date, accordingly, is subject to the APA’s

notice and comment requirements. See Open Cmtys. All. v. Carson, 286 F. Supp. 3d 148, 163

(D.D.C. 2017); see also Pineros Y Campesinos Unidos v. Pruitt, 293 F. Supp. 3d 1062, 1067 (N.D.

Cal. 2018).

       61.     The APA, moreover, specifically provides for agencies to provide at least 30-day

notice in promulgating a rule, unless the agency can demonstrate good cause for a shorter period.

See 5 U.S.C. § 553(d)(3).

       62.     Comment periods of less than thirty days may violate the APA. See Prometheus,

652 F.3d at 453 (noting 28-day comment period did not provide “sufficient time” for commenters);

see also Nat’l Lifeline Ass’n v. FCC, 921 F.3d 1102, 1117 (D.C. Cir. 2019) (noting that “[w]hen

substantial rule changes are proposed, a 30-day comment period is generally the shortest time

period sufficient for interested persons to meaningfully review a proposed rule and provide

informed comment”). Even the “freeze” memorandum on which the Department purported to rely




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in this case called for agencies to allow a “30-day” comment period prior to delaying final rules.

86 Fed. Reg. 7,424.

       63.     Courts have held that reducing the number of days for comments below thirty days

requires good cause and substantial exigent circumstances to justify what is otherwise an

unreasonably short period of time for public comments. See, e.g., Omnipoint Corp v. FCC, 78 F.3d

620, 629 (D.C. Cir. 1996) (finding 15-day comment period permissible only “given the ‘urgent

necessity for rapid administrative action under the circumstances’”); Florida Power & Light Co.

v. United States, 846 F.2d 765, 772 (D.C. Cir. 1984) (finding 15-day comment period sufficient

where Congress imposed a deadline for agency action).

       64.     An agency does not automatically demonstrate good cause for dispensing with the

APA’s 30-day notice requirement by stating that a rule’s effects are limited or that the rule only

provides interim relief. See Tennessee Gas Pipeline Co. v. FERC, 969 F.2d 1141, 1145 (D.C. Cir.

1992). Indeed, “[w]ere the opposite true, agencies could issue interim rules of limited effect for

any plausible reason, irrespective of the degree of urgency. Should this be allowed, the good

cause exception would soon swallow the notice and comment rule.” See id.

       65.     Similarly, an agency typically does not show good cause by merely asserting that

notice and comment is impractical, unless the agency can point to an “emergency situation[] in

which a rule would respond to an immediate threat to safety, such as to air travel, or when

immediate implementation of a rule might directly impact public safety.” Nat’l Resources Def.

Council, 894 F.3d at 114. Moreover, “[a] new administration's simple desire to have time to

review, and possibly revise or repeal, its predecessor's regulations falls short” of the good cause

standard of the APA. Id., see also Pineros Y Campesinos Unidos, 293 F. Supp. 3d at 1067.




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       66.     Additionally, under the APA, the “opportunity for comment must be a meaningful

opportunity.” Rural Cellular Association v. F.C.C., 588 F.3d 1095 (D.C. Cir. 2009). Courts have

concluded that the express exclusion of substantive commentary with respect to the underlying

subject matter of a proposed suspension violate the APA’s notice and comment requirements.

North Carolina Growers’ Ass’n, Inc., 702 F.3d at 770; Puget Soundkeeper All., 2018 U.S. Dist.

LEXIS 199358, at *13-14.

       67.     The Department’s notice and comment period preceding the Delay Rule did not

comport with the APA. As noted above, the Department set the time period for submission of

comments on the Delay Rule at nineteen days. The Department failed to demonstrate good cause

to justify such a truncated comment period. Although the Department claimed that “[i]t would not

have been practicable to issue an NPRM proposing to delay the Independent Contractor Rule and

allow for ample time for public comment on that proposal in time to publish a final rule not less

than 30 days before March 8,” the failure to propose the Delay Rule more than 30 days before the

Rule’s effective date was entirely attributable to the Department’s own failure to issue the notice

more promptly. See 86 Fed. Reg. 12,537. The Department failed to point to any emergency

situation that justified a finding of impracticality under the APA. Nat’l Resources Def. Council,

894 F.3d at 114.

       68.     The Department also failed to demonstrate good cause by asserting that “this

rulemaking merely implements a 60-day delay of the Independent Contractor Rule,” as a rule’s

“limited nature” does not alone justify an agency’s decision to invoke the good cause exception.

Compare 86 Fed. Reg. 12,537, with Tennessee Gas Pipeline Co., 969 F.2d at 1145 (internal

citations omitted).




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       69.     Moreover, because the Department only considered comments concerning a delay

of the Independent Contractor Rule, the scope of the comment period was too restrictive to comport

with the APA’s requirements to provide a meaningful comment period. Compare 86 Fed. Reg.

8327, with North Carolina Growers’ Ass’n, Inc., 702 F.3d at 770; Puget Soundkeeper All., 2018

U.S. Dist. LEXIS 199358, at *13-14.

       70.     Indeed, the scope of the Delay Rule’s comment period should have matched the

scope of the Independent Contractor Rule’s comment period; yet, the scope of the Delay Rule’s

comment period was more restrictive. See Colliot, 2018 U.S. Dist. LEXIS 83159, at *6-7 (quoting

Perez, 575 U.S. at 101) (noting that an agency must use the same procedures when enacting and

repealing a rule); compare, e.g., 85 Fed. Reg. 60,605, 60,610, 60,615 (seeking comments on

various aspects of the Independent Contractor Rule), with, 86 Fed. Reg. 8,327 (“[The Department]

will consider only comments about its proposal to delay the rule’s effective date.”) .

       71.     Accordingly, due to the short length of the comment period, the Department’s

failure to show good cause for truncating the comment period, and the comment period’s limited

scope, the Department’s promulgation of the Delay Rule was arbitrary and capricious and the

Delay Rule should be vacated. As a further result of the illegality of the Delay Rule, the

Withdrawal Rule must likewise be vacated, because it unlawfully purported to withdraw a rule in

advance of its effective date, when that rule had already taken effect as a matter of law.

                                            COUNT II

 (APA and FLSA – Arbitrary and Capricious Delay of the Independent Contractor Rule)

       72.     Under the APA, an agency “must...provide good reasons” for suspending a rule.

California v. BLM, 286 F. Supp. 3d 1054, 1064-65 (N.D. Cal. 2018). Indeed, the agency “must

provide … a ‘detailed justification’ to explain why it is changing course” and an agency may not

“casually ignor[e]” its previous findings and “arbitrarily chang[e] course.” Id. at 1064, 1068; see


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also Connecticut Light & Power Co. v. Nuclear Regulatory Comm., 673 F.2d 525, 528 (D.C. Cir.

1982).

         73.   An agency’s reliance on a presidential chief of staff “freeze” memo does not cure

an agency’s failure to otherwise comply with the APA’s requirements. Nat’l Res. Def. Council v.

Abraham, 355 F.3d 179, 206 (2d Cir. 2004). Moreover, an agency’s action is arbitrary and

capricious where it fails to consider important aspects of the problem and offers explanations for

its new rule that run counter to the evidence. See Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v.

State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 41-43 (1983).

         74.   Here, in promulgating the Delay Rule, the Department failed to provide a “detailed

justification” for its change in course, relying instead on the vague assertion that the Delay Rule is

justified because “questions involving law, fact, or policy have been raised.” Compare 86 Fed.

Reg. 12,535, with, California v. BLM, 286 F. Supp. 3d at 1064-65. Indeed, while the Department

cited comments with which it agreed in promulgating the Delay Rule, the Department still failed

to explain its reasoning in promulgating the Delay Rule in the first place. See Connecticut Light &

Power Co., 673 F.2d at 528.

         75.   The Department relied on comments of those who opposed the Independent

Contractor Rule as justification for delaying the effective date in order to allow more consideration

of “significant and complex” issues, the Department Delay Rule, the Department did not address

the fact that each of the aforementioned issues had already been considered and decided by the

Department prior to adoption of the Independent Contractor Rule. The Department therefore acted

arbitrarily in asserting as justification for delay the need to consider (again) “whether the Rule is

consistent with the statutory intent to broadly cover workers as employees as well as the costs and

benefits of the rule, including its effect on workers.” Id.




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       76.     The Department’s citations to the Regulatory Freeze Memorandum and OMB

Memorandum certainly do not justify the Department’s decision to change course; indeed, the

Department did not analyze the Independent Contractor rule according to the eight factors in the

OMB Memorandum before promulgating the Delay Rule. See Motor Vehicle Mfrs. Ass’n of the

U.S., Inc., 463 U.S. 29, 41-43 (1983) (noting that an agency rule may be arbitrary and capricious

where the agency relies on factors it was not supposed to consider); Nat’l Res. Def. Council, 355

F.3d at 206 (noting that an agency’s reliance on a freeze memorandum from the White House does

not free the agency from compliance with the APA).

       77.     The Department’s justifications for promulgating the Delay Rule, moreover,

improperly relied on mischaracterizations of the Independent Contractor Rule. As noted above,

the Delay Rule mischaracterizes the Independent Contractor Rule as adopting a wholly “new legal

standard” for determining employee and independent contractor status under the FLSA. 86 Fed.

Reg. 12,535. This description is inapt, and falsely suggests that the Independent Contractor Rule

so radically altered the regulatory landscape as to justify its delay and reassessment. To the

contrary, the Independent Contractor Rule retains the long-standing “economic reality” test for

determining employee or contractor status, while clarifying and harmonizing the confusing and

oft-conflicting methods of analysis used to applied this test across different circuits. 86 Fed. Reg.

1168. To suggest that the codification and clarification of a test applied for decades (albeit

inconsistently by courts) is an entirely “new legal standard” is simply incorrect as a matter of fact

and law. This mischaracterization of the impact of the Independent Contractor Rule, accordingly,

failed to justify the Delay Rule, and instead, made clear that the Delay Rule is arbitrary and

capricious. See Motor Vehicle Mfrs. Ass’n of the U.S., Inc., 463 U.S. at 41-43 (noting that an




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agency rule may be arbitrary and capricious where the agency has “offered an explanation for its

decision that runs counter to the evidence before the agency”).

       78.     As another example, the Department incorrectly justified the Delay Rule on the

ground that the delay of the Independent Contractor Rule’s effective date would not be

“disruptive” because the Independent Contractor Rule never went into effect. The Department’s

reasoning ignores completely the reality of the costs of compliance preparation many businesses

have already undertaken in anticipation of the rule becoming effective as scheduled, as well as the

continuing cost that the prior lack of clarity continues to wreak on businesses. See Clean Air

Council, 862 F.3d at 7 (“[T]his one-sided view of final agency action ignores that, by staying the

rule's effective date and its compliance duties, [the agency] has determined ‘rights or obligations .

. . from which legal consequences will flow.’).

       79.     Thus, in asserting that the Delay Rule will not be disruptive, the Department

improperly failed to consider important aspects of the problem and offered unsupported

explanations for the Delay Rule. See Motor Vehicle Mfrs. Ass’n of the U.S., Inc., 463 U.S. at 41-

43; Clean Air Council, 862 F.3d at 7.

       80.     Due to the Department’s failure to justify the Delay Rule in meaningful detail, and

because the Delay Rule failed to consider how delaying the Independent Contractor Rule will harm

employers and independent contractors, the Department’s promulgation of the Delay Rule was

arbitrary and capricious, and the Delay Rule should be vacated. Because the promulgation of the

Delay Rule was arbitrary and capricious and the Delay Rule is therefore invalid, the Independent

Contractor Rule should be declared by this Court to have gone into effect as of March 8, 2021.

The Withdrawal Rule’s purported effort to withdraw the Rule prior to its effective date failed,




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because the Independent Contractor Rule was unlawfully delayed and should be declared to have

gone into effect on March 8 as a matter of law.

                                           COUNT III

 (APA and FLSA – Arbitrary and Capricious Withdrawal of the Independent Contractor
                                      Rule)


       81.     As noted above, under the APA, an agency “must...provide good reasons” for

changing policy positions, including rescissions of rules. Motor Vehicle Mfrs. Ass’n, 463 U.S. at

44; California v. BLM, 286 F. Supp. at 1064-65. Indeed, the agency “must provide … a ‘detailed

justification’ to explain why it is changing course” and an agency may not “casually ignor[e]” its

previous findings and “arbitrarily chang[e] course.” California v. BLM, 286 F. Supp. at 1064,

1068; see also Connecticut Light & Power Co. v. Nuclear Regulatory Comm., 673 F.2d 525, 528

(D.C. Cir. 1982).

       82.     An agency’s action is arbitrary and capricious where it fails to consider important

aspects of the problem and offers explanations for its new rule that run counter to the evidence and

where it relies on factors that it should not have considered. See Motor Vehicle Mfrs. Ass’n of the

U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 41-43 (1983); FCC v. Fox TV Stations,

Inc., 556 U.S. 502, 515 (2009). The agency must also consider the reliance interests of the

regulated parties. Encino Motorcars v. Navarro, 136 S. Ct. 2117 (2125-26 (2016).

       83.     A change in presidential administration does not license an agency to ignore the

requirements of the APA. See, e.g., Pineros Y Campesinos Unidos, 293 F. Supp. 3d at 1067; Nat’l

Resources Def. Council, 894 F.3d at 114.

       84.     Here, in rejecting the Independent Contractor Rule, the Department has “casually

ignor[ed]” its previous findings in the Independent Contractor Rule and “arbitrarily chang[ed]

course.” California v. BLM, 286 F. Supp. at 1064.


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       85.     At the outset, the Withdrawal Rule mischaracterizes the Independent Contractor

Rule’s content and purpose in identifying the core factors at the heart of the economic realities test

described by the Supreme Court and many court decisions. Contrary to the Withdrawal Rule, the

Independent Contractors Rule did not create a “new” standard, but rather provided clear and

uniform guidance to businesses and independent workers that will better enable them to avoid

misclassifications while providing entrepreneurial opportunities for millions of workers.

       86.     In arbitrarily dismissing its own previous findings in that regard, the Department’s

Withdrawal Rule improperly treats independent contractor status as inherently harmful to workers,

contrary to the Supreme Court’s longstanding recognition of independent contractor status under

the FLSA. See Walling v. Portland Terminal Co., 330 U.S. 148, 152 (1947). In addition, the

Withdrawal Rule contradicts numerous studies showing that independent workers overwhelmingly

prefer remaining independent and do not want to be treated as “employees” where the law does

not require such treatment. At the same time, the Withdrawal Rule improperly credits and relies

on studies previously found by the Department to be inadequate to justify withdrawing the

Independent Contractor Rule.

       87.     The Department has thus reversed course without any adequate explanation or

identification of new factors which the Department previously failed to consider. Certainly, the

Department has identified no factual or legal errors in the Department’s thorough discussion of

case law identifying the “core factors” applied by many courts within the rubric of the overall

“economic realities” test. Instead, the Department now contends without support that its own

previous analysis was an “oversimplifi[cation],” and “incomplete.” 86 Fed. Reg. 24,309. To the

contrary, the Withdrawal Rule fails to cite any authority refuting the Independent Contractor

Rule’s exhaustive approach. The Independent Contractor Rule properly recognized the importance




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of the control and opportunity factors, within the scope of the extant case law applying a

“multifactor test.” See, e.g., 86 Fed. Reg. 1,175.

       88.     The Department’s Withdrawal Rule also relies on an erroneous legal standard for

interpreting the FLSA, seeking to achieve the broadest remedial purpose regardless of cost. 86

Fed. Reg. 24,309. To the contrary, the Supreme Court requires the FLSA to be interpreted “fairly,”

not to achieve the broadest remedial purpose, as the Department previously discussed in the

Independent Contractor Rule. Citing Encino Motor Cars v. Navarro, 138 S. Ct. 1134, 1142 (2018);

see also Catskill Mts. Chptr. of Trout Unlimited, Inc., 846 F.3d 492 at 514 (observing that “the

Supreme Court has noted, however, ‘no law pursues its purpose at all costs’”); U.S. Dep’t of Labor

v. Bristol Excavating, Inc., 935 F.3d 122, 135 (3d Cir. 2019) (“[A] fair reading of the FLSA, neither

narrow nor broad, is what is called for.”). See Independent Contractor Rule, 86 Fed. Reg. 1,200,

1,207-08.

       89.     In the Withdrawal Rule, the Department also offers explanations for withdrawing

the Independent Contractor Rule that run counter to the evidence before it. The Withdrawal Rule

specifically ignores or mischaracterizes the substantial data supporting the Independent Contractor

Rule contained in the Administrative Record, including but not limited to comments and studies

submitted for the Record by the Plaintiffs and other business and public policy organizations.

Contrary to the Withdrawal Rule, the data set forth in these comments strongly supports the

Department’s previous recognition of the important economic benefits of independent contracting.

       90.     In the Withdrawal Rule, the Department also arbitrarily concluded without

adequate explanation that it was “inappropriate to conclude independent contractors generally earn

a higher hourly wage than employees do,” even though the Department continues to state in the

Withdrawal Rule that “[a] simple comparison of mean hourly wages showed that independent




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contractors tend to earn more per hour than employees do.” 86 Fed. Reg. 24,325. Regardless of

that finding, the Department’s subsequent conclusion that “no statistically significant difference”

existed between the pay of independent contractors and employees after “controlling for

observable differences” actually supports – and certainly does not refute – the Independent

Contractor Rule. 86 Fed. Reg. 24,325.

       91.     Equally arbitrary is the Department’s conclusion that “[t]he Rule’s withdrawal does

not impose new compliance costs on the regulated community, because it imposes no new

requirements.” This statement ignores the Independent Contractor Rule’s intention to reduce the

costs of compliance under the FLSA, which the Department continues to agree “may be higher

under the current interpretation of the FLSA than under the interpretation contained in the

Independent Contractor Rule.” 86 Fed. Reg. 24,319. But the Department proceeded with the

Withdrawal Rule without addressing this critically important factor motivating the Department’s

adoption of the Independent Contractor Rule in the first place.

       92.     The Department further concluded that withdrawing the Independent Contractor

Rule would not be disruptive, and that it would expect any costs that regulated parties incurred in

preparing for the Independent Contractor Rule to be “minimal,” noting that it “put[] businesses on

notice” through the (unlawful) Delay Rule “that it was far from certain when the Rule would go

into effect, or in what form.” 86 Fed. Reg. 24,319. This finding ignores the illegality of the Delay

Rule itself, which businesses were entitled to believe would be vacated in court due to its multiple

violations of the APA. The Department’s unsupported statement that it would have withdrawn the

Independent Contractor Rule even if it had taken effect, Id. at 24,320, contradicts the NPRM and

further evidences the arbitrariness of the entire process by which the Department has withdrawn

the Rule.




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       93.     Despite the Department’s contentions to the contrary, it has also ignored the costs

that regulated parties have incurred, both from the Withdrawal Rule itself and from the continuing

costs that regulated parties will experience from the Department’s current interpretation of the

FLSA. See Clean Air Council, 862 F.3d at 7. The Withdrawal Rule fails to meaningfully address

the reliance interests of business and independent contractors who were depending on the

Independent Contractor Rule to mitigate the chaotic litigation environment which the Rule

analyzed in exhaustive detail. See Encino Motorcars v. Navarro, 136 S. Ct. 2117, 2125-26 (2016).

       94.     The Withdrawal Rule also ignored the substantial data supporting the Independent

Contractor Rule contained in the Administrative Record, including comments submitted for the

Record by the Plaintiffs and other organizations. Contrary to the Withdrawal Rule, the data set

forth in these comments and many other similar comments contained in the Administrative Record

of each of the rulemaking proceedings, strongly supports the Department’s previous recognition

of the important economic benefits of independent contracting in favor of a new, mistaken view

by the Department that independent contractor status is harmful to workers who studies have

shown overwhelmingly prefer remaining independent and do not want to be treated as

“employees.”

       95.     In concluding that regulated parties have suffered “minimal” costs due to the

Withdrawal Rule because the Department put regulated parties on notice through the Delay Rule

that “it was far from certain when the [Independent Contractor] Rule would go into effect, or in

what form,” the Department improperly ignores the fact that the Delay Rule itself violated the

APA as set forth above and because of that violation cannot operate to delay the effective date of

the Rule beyond March 8, 2021.




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       96.     Finally, in contending for the first time in the final Withdrawal Rule that it would

have “withdrawn” the Independent Contractor even if it had been allowed to go into effect, the

Department contradicted both the Delay Rule and its own stated basis for the Withdrawal Rule,

and cited no authority for its claimed authority to withdraw a rule after it has taken effect.


                                   REQUESTS FOR RELIEF

       97.     Plaintiffs ask that the Court enter a declaratory judgment declaring that the

challenged Delay Rule and Withdrawal Rule are both invalid; and permanently enjoining

Defendants from implementing the unlawfully promulgated Delay Rule and Withdrawal Rule;

and declaring that the Independent Contractor Rule has gone into effect as of March 8, 2021.

       98.     In addition, because the Department’s subsequent NPRM proposing to withdraw

the Independent Contractor Rule relied on the unlawfully promulgated Delay Rule for the assertion

that the Independent Contractor Rule has not already gone into effect, the Withdrawal Rule itself

must be ordered withdrawn.

       99.     Further, independent of the Delay Rule, the Department’s Withdrawal Rule should

be declared to be violative of the APA and FLSA and accordingly vacated, and the Independent

Contractor Rule should remain in effect.

       100.    The Court should also award Plaintiffs their costs and expenses, including

reasonable attorneys’ fees under the Equal Access to Justice Act or otherwise; and award such

other further and additional relief as is just and proper.




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           Dated May 13, 2021                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
        I hereby certify that on May 13, 2021, the foregoing Amended Complaint was
electronically filed in the above and foregoing with the Clerk of the Court, utilizing the ECF
system, which sent notification of such filing to the following counsel for Defendants:

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                                                    /s/Robert F. Friedman
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